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 Attorney for Plaintiffs

                       UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  Venice PI, LLC,                        )   Case No.: 1:18-cv-192
  Headhunter LLC,                        )
  MON LLC,                               )   (Copyright)
  LHF Productions, Inc.,                 )
  Cook Productions, LLC,                 )   COMPLAINT; EXHIBITS 1-3;
  Glacier Films 1, LLC,                  )   DECLARATION OF WAYMOND
  Colossal Movie Productions, LLC,       )   NGAI; DECLARATION OF
  Automata Productions, Inc.,            )   JAMES SOSA; DECLARATION
  Criminal Productions, Inc.,            )   OF COUNSEL
  Dallas Buyers Club, LLC,               )
  Clear Skies Nevada, LLC                )
  Bodyguard Productions, Inc.,           )   (1) CONTRIBUTORY
  I.T. Productions, LLC,                 )       COPYRIGHT
  SVZ Productions, Inc.,                 )       INFRINGEMENT
  Splintered, LLC,                       )
  Cobbler Nevada, LLC, and               )
  Justice Everywhere Productions, Inc.   )
                                         )
                    Plaintiffs,          )
          vs.                            )
                                         )
  DOE 1 d/b/a                            )
  showboxappdownload.com,                )
  DOE 2 d/b/a                            )
  showboxappdownload.co,                 )


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  DOE 3 a/k/a Andy Crow,                   )
  DOE 4 a/k/a Mark Willow,                 )
  DOE 5 d/b/a show-                        )
  box.en.uptodown.com/android, DOE         )
  6, DOE 7, DOE 8, DOE 9, and DOE          )
  10                                       )
                                           )
                    Defendants.

                                      COMPLAINT

          Plaintiffs Venice PI, LLC, Headhunter LLC, MON LLC, LHF Productions,

 Inc., Cook Productions, LLC., Glacier Films 1, LLC, Colossal Movie Productions,

 LLC, Automata Productions, Inc., Criminal Productions, Inc., Dallas Buyers Club,

 LLC, Clear Skies Nevada, LLC, Bodyguard Productions, Inc., I.T. Productions,

 LLC, SVZ Productions, Inc., Splintered, LLC, Cobbler Nevada, LLC, and Justice

 Everywhere Productions, Inc., (collectively “Plaintiffs”) file this Complaint against

 Defendants      DOE    1     d/b/a   showboxappdownload.com,       DOE     2   d/b/a

 showboxappdownload.co, DOE 3 a/k/a Andy Crow, DOE 4 a/k/a Mark Willow,

 DOE 5 d/b/a show-box.en.uptodown.com/android, DOE 6, DOE 7, DOE 8, DOE 9,

 and DOE 10 (collectively “Defendants”) and allege as follows:

                         I.     NATURE OF THE ACTION

          1.   Plaintiffs bring this action to stop the massive piracy of their motion

 pictures brought on by the software application Show Box app (hereafter: the “Show

 Box app”). The Defendants misleadingly promote the Show Box app as a legitimate

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 means for viewing content to the public, who eagerly install the Show Box app to

 watch copyright protected content, thereby leading to profit for the Defendants.

 These Defendants have placed hundreds of individuals in Hawaii if not thousands of

 individuals in the United States in legal peril for copyright infringement while they

 hide behind Columbian top level domains, anonymous registrants in Panama in one

 case, false identities and addresses, and enjoy the gains from their illicit enterprise.

          2.     To halt Defendants’ illegal activities, Plaintiffs bring this action under

 the United States Copyright Act of 1976, as amended, 17 U.S.C. §§ 101, et seq. (the

 Copyright Act”) and allege that Defendants are liable for contributory copyright

 infringement in violation of 17 U.S.C. §§ 106 and 501.

                          II.    JURISDICTION AND VENUE

          3.     This Court has subject matter jurisdiction over this action pursuant to

 17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question),

 and 28 U.S.C. § 1338 (patents, copyrights, trademarks, and unfair competition).

          4.     Defendants solicit, transact, or are doing business within this

 jurisdiction, and have committed unlawful and tortious acts both within and outside

 this jurisdiction with the full knowledge that their acts would cause injury in this

 jurisdiction.

          5.     Defendants cause harm to Plaintiffs’ business within this District by

 diverting customers in this District to unauthorized Internet-based content

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 distribution services through, at least, their websites and the Show Box app they

 distribute.

          6.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

 because: (a) all or a substantial part of the events or omissions giving rise to the

 claims occurred in this District; and (c)(3) any of the Defendants not a resident of

 the United States may be sued in this District.

                                       III.     PARTIES

                                       A. The Plaintiffs
          7.      The Plaintiffs are owners of the copyrights for the motion pictures

 (hereafter: “Works”), respectively, as shown in Exhibit “1” and listed below.

                    OWNER                 MOTION PICTURE               Copyright

                                                                       Certificate

                                                                        Number

                                              Once Upon a Time in     PA2039391
                  Venice PI, LLC
                                                     Venice

                                                The Family Man        PA2039392
                 Headhunter LLC,

                                                  Singularity         PAu3848900
                    MON LLC

                                              London Has Fallen       PA1982831
               LHF Productions, Inc.



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                                       Mr. Church            PA2002851
          Cook Productions, LLC.

                                      American Heist       PA0001398023
           Glacier Films 1, LLC

                                           Colossal        Pau003806054
              Colossal Movie

             Productions, LLC

                                           Automata         PA01923090
          Automata Productions,

                   Inc.

                                           Criminal         PA01984029
           Criminal Productions,

                   Inc.

                                    Dallas Buyers Club     PA0001873195
           Dallas Buyers Club,

                   LLC

                                           Good Kill       Pau003762377
           Clear Skies Nevada,

                   LLC

                                       The Hitman’s         PAu3844508
          Bodyguard Productions,
                                        Bodyguard
                   Inc.

                                             I.T.           Pau00380112
           I.T. Productions, LLC

                                   Navy Seals v. Zombies   PA0002000772
          SVZ Productions, Inc.



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                                                 Playing It Cool             PA0001931204
                 Splintered, LLC

                                                     The Cobbler             Pau003744688
               Cobbler Nevada, LLC

                                                Vengeance: a Love            PAu003835145
                Justice Everywhere
                                                         Story
                 Productions, Inc.




                                           B. The Defendants

          8.      The Defendants distribute copies of the Show Box app and promote it

 for the infringing purpose of “watching free movies”, including Plaintiffs’ copyright

 protected Works.

          9.      Defendant     DOE         1        operates      an    interactive    website

 http://showboxappdownload.com as of May 15, 2018.

          10.     On the website, Defendant DOE 1 describes the Show Box app as

 “FREE MOVIES APP”.

          11.     Defendant          DOE         1        states        on     the      website

 (http://showboxappdownload.com/download-show-box-apk/),                      “Download       or

 watch free movies with the Show Box app on your Android device. The app allows

 users to stream HD quality movies and shows.”

          12.     Defendant DOE 1’s website states “Download the latest version of

 Show Box .APK here: Show Box 5.04 APK”.
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          13.   Clicking on Show Box 5.04 APK words directs a user to the website

 http://rawapk.com/showbox-apk-download/ where various versions of the Show

 Box app can be downloaded.




          14.   The website http://showboxappdownload.com is registered by the

 under the registrant name “Registration Private”, an organization Domains by

 Proxy, LLC, located in Scottsdale, Arizona 95260. See Exhibit “2”.
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          15.   The registrar for the website http://showboxappdownload.com is

 GoDaddy.com. Id.

          16.   Defendant DOE 2 holds itself out as a corporation Showbox Inc. with

 its principal place of business at 3662 Wilson Street, Fullerton, California 93632.




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          17.   Upon information and belief, the address “3662 Wilson Street

 Fullerton, California 93632” does not exist.

          18.   Upon information and belief, “Showbox, Inc.”, with regards to

 Defendant DOE 2, is not a corporation organized under any state or territory of the

 United States, and likely does not exist at least not in the manner held out by

 Defendant DOE 2.

          19.   Defendant DOES 2, 3 and 4 (hereafter: “DOES 2-4”) operate an

 interactive website http://showboxappdownload.co as of May 15, 2018.

          20.   On the website, Defendant DOES 2-4 describe the Show Box app as

 “Unlike most other apps on the genre which get you movies and TV shows to watch

 in return on a subscription or payment, Show Box is absolutely FREE!”

          21.   On the website, Defendant DOES 2-4 state, “The app is not available

 on Google’s Play Store. If you want to get the app, you’ll have to Download latest

 ShowBox app APK.”




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           22.   Clicking on “latest ShowBox app APK” words directs a user to the

  website http://showboxappdownload.co/showbox-apk/ where Defendant DOES 2-

  4 state, “We have tested [the Show Box app] and it is 100% working, legal

  download,” and includes a link “DOWNLOAD Showbox.APK”.




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           23.   Clicking on the link “DOWNLOAD Showbox.APK” leads to a

  website http://apkadvisor.com/showbox-apk/ where a version of the Show Box app

  can be downloaded.

           24.   The website http://showboxappdownload.co uses the “co” top level

  domain which is assigned to the Republic of Columbia. See Exhibit “3”.

           25.   The website http://showboxappdownload.co is registered by the

  registry domain whois.namecheap.com and the registrar NameCheap, Inc. Id.

           26.   The registrant name is WhoisGuard Protected, an organization

  WhoisGuard, Inc., located at PO Box 0823-03411 in Panama Id., despite DOES 2-

  4 website being written in English and DOES 2-4 holding themselves out as an

  American Company.

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           27.   Defendant     DOES       2-4    use      the     email     address

  movieappsfreaks@gmail.com to solicit and receive solicitations for partnership or

  advertising offers.




           28.   Defendant DOE 3 identifies himself as Andy Crow and holds himself

  out at the Chief Executive Officer (CEO) and founder of the Showbox app on the

  website showboxappdownload.co.

           29.   On the website http://showboxappdownload.co/future-showbox-ceos-

  desk/, Defendant DOE 3 states, “While in the past you were likely to be hit with a


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  copyright infringement lawsuit for downloading movies for free, Showbox has

  changed all that. With the app you can watch and download…movies for free.”




           30.   On the same website, Defendant DOE 3 also states that “he has made

  an app…” Upon information and belief, the app referred to here is the Show Box

  app.




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           31.   Defendant DOE 4 identifies himself as Mark Willow and holds himself

  out as the owner and the man behind showboxappdownload.co on the website

  showboxappdownload.co.




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           32.   Defendants   DOES     2-4        include   a   blog   at   the    website

  http://showboxappdownload.co/showbox-blocked-isp/.

           33.   This blog includes an article dated February 5, 2018 and entitled,

  “What To Do When Showbox is Blocked By ISP?” In this article, Defendants

  DOES 2-4 describe the Show Box app as “It usually offers movies, TV series which

  are usually copyrighted without license. This exposes the subscribers to bans and

  being blocked by ISP from accessing certain sites because they have infringed on

  the rights of others.”




           34.   Defendant DOE 5 operates an interactive website https://show-

  box.en.uptodown.com/android as of May 15, 2018 for distributing copies of the

  Show Box app.



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           35.   On the website Defendant DOE 5 describes the Show Box app as “an

  app that lets you both download and stream loads of movies and TV shows. And

  following one of its most recent updates, it also lets you play and download music.”




           36.   Clicking on the link “Latest version” on the website leads to a website

  https://show-box.en.uptodown.com/android/download.

           37.   The website https://show-box.en.uptodown.com/android/download

  includes a green “Download” button, which begins download of an installation file

  for the Show Box app when clicked.




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           38.   Defendants DOE 1-5 have gone to great lengths to conceal themselves

  from the public, including by using multiple false identities and addresses

  associated with their operations and purposely-deceptive contact information for

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  their websites.

           39.   Defendants DOES 6-10, separately, or together with the other

  Defendants, have placed a version of the Show Box app ShowBox 5.02 .APK

  available for download at the website: http://rawapk.com/showbox-apk-download/

           40.   Defendants DOES 6-10, separately, or together with the other

  Defendants, have placed one or more of the following versions of the Show Box

  app ShowBox 5.02 .APK, ShowBox 5.01 .APK, ShowBox 5.0 .APK, ShowBox

  4.96 .APK, ShowBox 4.95 .APK, ShowBox 4.94 .APK, ShowBox 4.93 .APK,

  ShowBox 4.92 .APK, ShowBox 4.91 .APK, ShowBox 4.69 .APK, on the website:

  http://rawapk.com/showbox-apk-download/ to be available for download by the

  general public.

           41.   The Show Box app users in Hawaii are motivated to download and use

  the Show Box app for its infringing purpose because of the promotions of

  Defendants DOES 1-5 of the Show Box app as an application for infringing

  copyright protected Works, including Plaintiffs.

           42.   Defendants benefit financially from the infringement of the Works by

  the Hawaii users of the Show Box app.

                                     IV.    JOINDER

           43.   Pursuant to Fed. R. Civ. P. 20(a)(1), each of the Plaintiffs are properly

  joined because, as set forth in detail above and below, the Plaintiffs assert: (a) a right

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  to relief arising out of the same transaction, occurrence, or series or transactions,

  namely the distribution of and use of the Show Box app for streaming and

  distributing Plaintiffs’ Works; and (b) that there are common questions of law and

  fact.

           44.   Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

  properly joined because, as set forth in more detail below, the Plaintiffs assert: (a) a

  right to relief arising out of the same transaction, occurrence, or series or

  transactions, namely the distribution of the Show Box app for streaming and

  distributing Plaintiffs’ Works; and (b) there are common questions of law and fact.

                           V.     FACTUAL BACKGROUND
           A. The Plaintiffs Own the Copyrights to the Works

           45.   The Plaintiffs are the owners of the copyright in the Works,

  respectively. The Works are the subjects of copyright registrations, and this action

  is brought pursuant to 17 U.S.C. § 411. See Exhibit “1”.

           46.   Each of the Works are motion pictures currently offered for sale in

  commerce.

           47.   Defendants had notice of Plaintiffs’ rights through at least the credits

  indicated in the content of the motion pictures which bore proper copyright notices.

           48.   Defendants also had notice of Plaintiffs’ rights through general

  publication and advertising associated with the motion picture, and packaging and
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  copies, each of which bore a proper copyright notice.

           B. The Defendants intentionally induce users’ Infringements of the

           Plaintiffs’ Copyrights

           49.   The Show Box app allows users to stream and/or download a copy of

  each of Plaintiffs’ Works.

           50.   Neither Defendants nor their Show Box app have a license from

  Plaintiffs to stream and/or download copies of Plaintiffs’ Works.

           51.   Defendants DOE 1-5 advertise the Show Box app for being used for

  infringing Copyright protected Works, including Plaintiffs.

           52.   Upon information and belief, the Show Box app is using one or more

  addons for streaming infringing content, including Plaintiffs’ Works. These addons

  are designed and maintained for the overarching purpose of scouring the Internet

  for illegal sources of copyrighted content and returning links to that content. When

  Show Box app users click the “WATCH NOW”, the user receives unauthorized

  streams of popular motion pictures, including Plaintiffs’.

           53.   Upon information and belief, the Show Box app is using the BitTorrent

  client application protocol to allow users to download copyright protected content,

  including Plaintiffs’ Works from Torrent sites.

           54.   Defendant DOE 1 gives instructions to users on how to install the Show

  Box App and mentions “to download torrents…”.
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           55.   Torrent sites are websites that index torrent files that are currently

  being made available for copying and distribution by people using the BitTorrent

  protocol. When Show Box app users click the “DOWNLOAD NOW” option, the

  user begins receiving different piece of the copyrighted Works.

           56.   Once a Show Box app user has downloaded the full file, the BitTorrent

  Client reassembles the pieces and the Show Box app user is able to view the movie.

  Also, once a Show Box app user has downloaded the full file, the Show Box app

  user continues to distribute the torrent file, here the copyrighted Works.

           57.   Defendants’ users use the Show Box app for its intended and

  unquestionably infringing purposes, most notably to obtain immediate, unrestricted,

  and unauthorized access to unauthorized copies of Plaintiffs’ Copyrighted Works.

           58.   Defendants promote the use of the Show Box app user for

  overwhelmingly, if not exclusively, infringing purposes, and that is how the users


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  use the Show Box app.

           59.    Defendants urge the Show Box app users to stream or download

  infringing content.

           60.    Defendants DOES 2-4 even encourage Show Box users to install a

  Virtual Private Network (VPN) on their devices “to ensure that a device is not

  detected       by   the   ISP   and   the    cyber   trolls”   on   their   Blog    at

  http://showboxappdownload.co/showbox-blocked-isp/.




           61.    Defendants DOES 2-4 use their website(s) to announce software

  updates to the Show Box app and advertise the availability of infringing content.




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           62.   Defendants     DOES          2-4     use       their      website

  http://showboxappdownload.co/native-way-access-showbox-pc-now-available/ to

  announce to users new approaches to installing the Show Box app on their devices.




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           63.   The commercial value of Defendants’ Show Box app business depends

  on high-volume use of unauthorized content through the Show Box app. Defendants

  promise the Show Box users reliable and convenient access to all the content they

  can stream and download and users install the Show Box app on their devices based

  on Defendants’ apparent success in delivering infringing content to their customers.

           64.   The Show Box app includes numerous advertisements that, upon

  information and belief, provides financial compensation to Defendants.

           65.   Defendant     DOE       2        uses    the      email      address

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  movieappsfreaks@gmail.com to solicit and receive solicitations for partnership or

  advertising offers.

           C. The Defendant DOE 1 contributed to James Sosa’s Infringement of the

           Plaintiff MON LLC’s Copyright in the Work.

           66.   James Sosa, a Hawaii resident, learned about the Show Box app from

  the Defendant DOE 1’s website http://showboxappdownload.com.

           67.   The     deceptive   language    at   http://showboxappdownload.com

  convinced James Sosa that the Show Box app allowed him to legally watch free

  movies.

           68.   James        Sosa       followed       the      instructions      at

  http://showboxappdownload.com to download the Show Box app to his Dell tablet

  while in Hawaii.

           69.   James Sosa used the download function of the Show Box app to

  download at least a portion of the motion picture Singularity on November 19, 2017.

           D. The Defendants contributed to Clinton Bovee’s Infringement of the

           Plaintiffs LHF Production, Inc.’s and Bodyguard Production, Inc.’s

           Copyrights in their Works.

           70.   Clinton Bovee, a Hawaii resident, learned about the Show Box app

  from the Defendants’ websites.

           71.   The deceptive language on Defendants’ websites convinced Clinton
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  Bovee that the Show Box app allowed him to legally watch free movies.

           72.   Clinton Bovee followed the instructions on Defendants’ websites to

  download the Show Box app to his device while in Hawaii.

           73.   Clinton Bovee used the download function of the Show Box app to

  download at least a portion of the motion pictures London Has Fallen on or around

  February 6, 2017 and The Hitman’s Bodyguard on or around September 4, 2017.


                      VI. FIRST CLAIM FOR RELIEF
  (Contributory Copyright Infringement based upon Inducement of Streaming)

           74.   Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

           75.   Plaintiffs are the copyright owners of the Works which each contains

  an original work of authorship.

           76.   Defendants have actual knowledge of third parties’ infringement of

  Plaintiffs’ exclusive rights under the Copyright Act.

           77.   Defendants intentionally induce the infringement of Plaintiffs’

  exclusive rights under the Copyright Act, including infringement of Plaintiffs’

  exclusive right to publicly perform their Copyrighted Works. As intended and

  encouraged by Defendants, the Show Box app connects customers to unauthorized

  online sources that stream Plaintiffs’ Copyrighted Works. The operators of these

  source repositories directly infringe Plaintiffs’ public performance rights by

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  providing unauthorized streams of the works to the public, including to Show Box

  app users. These operators, or others operating in concert with them, control the

  facilities and equipment used to store and stream the content, and they actively and

  directly cause the content to be streamed when Show Box app users click on a link

  for the content.

           78.     Defendants induce the aforementioned acts of infringement by

  supplying the Show Box app that facilitates, enables, and creates direct links

  between Show Box app users and the infringing operators of the streaming services,

  and by actively inducing, encouraging and promoting the use of their Show Box app

  for blatant copyright infringement.

           79.     Defendants intentional inducement of the infringement of Plaintiffs’

  rights in each of their Copyrighted Works constitutes a separate and distinct act of

  infringement.

           80.     Defendants inducement of the infringement of Plaintiffs’ Copyrighted

  Works is willful, intentional, and purposeful, and in disregard of and with

  indifference to the rights of the Plaintiffs.

           81.     Defendants’ actions are a direct and proximate cause of the

  infringements of Plaintiffs’ Works.

                              VII. SECOND CLAIM FOR RELIEF
                 (Contributory Copyright Infringement based upon Inducement of
                                          Torrenting)
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           82.   Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

           83.   Plaintiffs are the copyright owners of the Works which each contains

  an original work of authorship.

           84.   Defendants have actual knowledge of third parties’ infringement of

  Plaintiffs’ exclusive rights under the Copyright Act.

           85.   Defendants intentionally induce the infringement of Plaintiffs’

  exclusive rights under the Copyright Act, including infringement of Plaintiffs’

  exclusive right to distribute copies of Copyrighted Works. As intended and

  encouraged by Defendants, the Show Box app connects users to Torrent sources

  and/or sites that deliver copies of Plaintiffs’ Copyrighted Works. The operators of

  these Torrent sources directly infringe Plaintiffs’ exclusive rights by providing

  unauthorized copies of the works to the public, including to Show Box app users.

           86.   Once the Show Box app user has obtained a complete copy of the

  Plaintiffs’ Copyrighted Works, that particular user also becomes another Torrent

  source that delivers copies of Plaintiffs’ Copyrighted Works.

           87.   These operators, or others operating in concert with them, control the

  facilities and equipment used to store and distribute the content, and they actively

  and directly cause the content to be distributed when Show Box app users click on a

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  link for the content.

           88.   Defendants induce the aforementioned acts of infringement by

  supplying the Show Box app that facilitate, enable, and create direct links between

  their users and the infringing Torrent sources, and by actively inducing, encouraging

  and promoting the use of their Show Box app for blatant copyright infringement.

           89.   Defendants intentional inducement of the infringement of Plaintiffs’

  rights in each of their Copyrighted Works constitutes a separate and distinct act of

  infringement.

           90.   Defendants inducement of the infringement of Plaintiffs’ Copyrighted

  Works is willful, intentional, and purposeful, and in disregard of and with

  indifference to the rights of the Plaintiffs.

           91.   Defendants’ actions are a direct and proximate cause of the

  infringements of Plaintiffs’ Works.

                                VIII. THIRD CLAIM FOR RELIEF
                   (Contributory Copyright Infringement based upon Material
                                          Contribution)
           92.   Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

           93.   Defendants have actual or constructive knowledge of infringement of

  Plaintiffs’ exclusive rights under the Copyright Act. Defendants knowingly and

  materially contribute to such infringing activity.

           94.   Defendants knowingly and materially contribute to the infringement of
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  Plaintiffs’ exclusive rights under the Copyright Act, including infringement of

  Plaintiffs’ exclusive right to publicly perform and distribute their works. Defendants

  design and promote the use of the Show Box app to connect customers to

  unauthorized online sources that stream and download copies of Plaintiffs’

  Copyrighted Works. The operators of these source repositories directly infringe

  Plaintiffs’ public performance rights by providing unauthorized streams and/or

  copes of the works to the public, including to Show Box app users. The operators,

  or others operating in concert with them, control the facilities and equipment used

  to store and stream or deliver copies of the the content, and they actively and directly

  cause the content to be streamed and/or distributed when Show Box app users click

  on a link for the content.

           95.   Defendants knowingly and materially contribute to the aforementioned

  acts of infringement by supplying the software application that facilitate, encourage,

  enable, and create direct links between Show Box app users and infringing operators

  of the streaming and Torrent services, and by actively encouraging, promoting, and

  contributing to the use of their Show Box app for blatant copyright infringement.

           96.   Defendants knowing and material contribution to the infringement of

  Plaintiffs’ rights in each of their Copyrighted Works constitutes a separate and

  distinct act of infringement.

           97.   Defendants knowing and material contribution to the infringement of
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  Plaintiffs’ Copyrighted Works is willful, intentional, and purposeful, and in disregard

  of and with indifference to the rights of Plaintiffs.

           98.   As a direct and proximate result of the infringement to which

  Defendants knowingly and materially contribute, Plaintiffs are entitled to damages

  and Defendants profits in amounts to be proven at trial.

           99.   Defendants obtained a direct financial interest, financial advantage,

  and/or economic consideration from the infringements in Hawaii as a result of their

  infringing actions in the United States.

           100. Defendants’ actions are a direct and proximate cause of the

  infringements of Plaintiffs’ Works.

           WHEREFORE, the Plaintiffs respectfully requests that this Court:

           (A) enter temporary, preliminary and permanent injunctions enjoining each

  Defendant from continuing to contribute to infringement of the Plaintiffs’

  copyrighted Works;

           (B) Entry of an Order pursuant to 28 U.S.C §1651(a), The All Writs Act, that,

  the operators of the websites: (i) http://rawapk.com; (ii) http://apkadvisor.com; and

  (iii) uptodown.com immediately remove all versions of the software application

  Show Box, including but not limited to: ShowBox 5.02 .APK, ShowBox 5.01 .APK,

  ShowBox 5.0 .APK, ShowBox 4.96 .APK, ShowBox 4.95 .APK, ShowBox 4.94

  .APK, ShowBox 4.93 .APK, ShowBox 4.92 .APK, ShowBox 4.91 .APK, ShowBox
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  4.69 .APK from their website;

           (C) Entry of an Order pursuant to 28 U.S.C §1651(a), The All Writs Act, that,

  upon Plaintiffs’ request, those in privity with Defendants and those with notice of

  the injunction, including any Internet search engines, Web hosts, domain-name

  registrars, and domain name registries and/or their administrators that are provided

  with notice of the injunction, cease facilitating access to any or all domain names

  and websites through which Defendants engage in the distribution and promotion of

  the Show Box app;

           (D) award the Plaintiffs’ actual damages and Defendants’ profits in such

  amount as may be found; alternatively, at Plaintiffs’ election, for maximum statutory

  damages per Work pursuant to 17 U.S.C. § 504-(a) and (c);

           (E) award the Plaintiffs their reasonable attorneys’ fees and costs pursuant to

  17 U.S.C. § 505; and

           (F) grant the Plaintiffs any and all other and further relief that this Court deems

  just and proper.

           DATED: Kailua-Kona, Hawaii, May 23, 2018.


                                      CULPEPPER IP, LLLC


                                      /s/ Kerry S. Culpepper
                                      Kerry S. Culpepper


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                               Attorney for Plaintiffs




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